Case 2:03-CV-02852-BBD-STA Document 60 Filed 09/01/05 Page 1 of 5 PagelD 59
r

.(`
01129/57136-Moc 51 _ED B‘{ _LL£::§¢. D »'-

IN THE uN\TED sTATEs o\sTRlcT couRT 05 559 -\ Pli 5= \0
FoR THE wEsTERN DlsTRlcT oF TENNEssEE

wEsTERN oivlsloN MS il.GOULD
ci£ii“l£§ §§1§Ci COURT
\‘!'T]C*~1;‘_i `E`\"PH

ANDREA COOK, as Administratrix of
the Estate of Stanley Franklin Cook,
Deceased;

Plaintiff,

Case No. 03-2852-DA
JURY TR|AL DEMANDED

VS.

l

)

)

)

)

l

l
ClTY OF TRIMBLE, TENNESSEE; )
JlNlMY RING, individually and in his )
Official Capacity as Chief of Police )
of The City of Trimb|e; and ROBERT )
HORNER, individually and in his )
Official Capacity as' an Officer of )
The City of Trimble Police )
Department, )
)

l

Defendants.

 

PROTECT|VE ORDER

 

This matter came before this Court pursuant to the |Vlotion of Defendant Robert
Horner seeking a protective order regarding the disclosure of information contained in
personnel files requested by the P|aintiff. |n this civil rights and State tort law action, the
Plaintiff alleges the federal constitutional rights of Stanley Cook were violated by
Defendants. Defendant Robert Horner denies Stanley Cook’s federal constitutional rights
Were violated During the course of discovery, Plaintiff has requested the personnel files
of Defendant Robert Horner.

The Court finds the information sought by Plaintiff should be treated as that

   

confidential nature due to the nature of the information contained in the personnel file

Case 2:03-cv-02852-BBD-STA Document 60 Filed 09/01/05 Page 2 of 5 PagelD 60

01129/57136-MDC

is important that the information not be disclosed except in the very limited fashion as
described in this protective order. A protective order is necessary to insure that all
information provided by Defendant Robert Horner in this case is kept confidential and so
that no information is disseminated in any manner except as expressly provided herein.
This protective order shall apply to all personnel information or documents which
Defendant Robert Horner will produce or has produced to the Plaintiff in this case subject
to any subpoena, written or oral request, or court crder.

|T lS ORDERED that the discovery of the personnel information requested by
Plaintiff may be had by Plaintiff under the following conditions:

1. Plaintiff’s attorney and Plaintiff are hereby prohibited from disseminating the
personnel files of Defendant Robert Horner, or information obtained therefrom to any other
persons or entities. Plaintiff’s attorney may, however, disclose the information to
associated or internal counsel, and legal associates, clerical or other support staff assisting
in preparation of this action. These other individuals, however, are prohibited from making
further disclosure

2. Any person receiving confidential material pursuant to this protective order
shall not reveal or discuss such material to or With any person not entitled to disclosure
under this Order.

3. i-lome addresses, telephone numbers of the Defendant Robert Horner, and
his social security number are to be redacted from personnel files as this information is
private and not relevant to Plaintiff’s claims.

4. Coanentia| material obtained through this protective order used in

' Case 2:03-cv-02852-BBD-STA Document 60 Filed 09/01/05 Page 3 of 5 PagelD 61

01129.‘57136-MDC
connection with depositions, interrogatories, requests for production of documents,
requests for admissions, motions, or any pre-trial matter, if submitted to the Court, shai| be
filed and maintained under seal by the Cou rt’s Clerk with the following designated language
written on the outside:
“CONF|DENT|AL"
Pursuant to the Order of the United States District Court for the Western District of
Tennessee, dated the day of , 2005, this envelope contains
confidential material that is not to be opened or reviewed by persons not included
in the Order of the United States District Court for the Western District of
Tennessee. Sea|ing and unsealing this material is in accordance with Ru|e 26(c).
5. Contidential documents or confidential information may be utilized during
party depositions involving this matterfor any appropriate purpose without prior notice. Any
transcript, notes or other recording of deposition testimony containing information made
confidential herein shall be confidential materiai subject to this protective order.
6. Upon termination of this action, including any appeals, all copies of

confidential material obtained through this Order shall be returned to Defendant‘s counsel

or shall be destroyed by the party in possession of the same.

lT lS SO ORDERED,TH|S THE 32 DAY OF§Z¢¥¢£ ,2005.

BE NlC B.D ALD,JUDGE 1

Case 2:03-cv-02852-BBD-STA Document 60 Filed 09/01/05 Page 4 of 5

011291'57136-MDC

APPROVED FOR ENTRY:

By:

jordan/644

JO W. CHANDLER, JR. (BPH/#006219)
Att rney for Plaintiff

532 South McLean Bou|evard

Nlemphis, TN 38104

RAINEY, KIZER, REV|ERE & BELLl PLC

By:

M.QI

JOl-li\l D BURLE (BPR #10400)
DALE CONDER, .(BPR #015419)
Attorneys for Defe dant Robert
Horner, in his indi idual capacity

209 East |Vlain Street

P.O. Box 1147

Jackson, TN 38302-1147

(731 ) 423~2414

W|LKERSON, GAULD|N & HAYES

By w fagg fwny WM ///M SJ.a/i

iviR. viniZLiAivl i.Ewi's JENKiNs, 'JR. (BPR #017423)
Attorneys for Defendant City of Trimble

112 W. Court Street

P.O. Box 220

Dyersburg, TN 38025-0220

FL|PP]N, COLL|NS & HlLL

By:

MWMQ

iviR. iviicHAEi_ Hii_i_ (BPR #17409)
Attorneys for City of Trimb|e, Robert
Horner in his official capacity, and

Jimmy Ring, in both his individual & official
capacities

1066 S. Main Street

P.O. Box 679

lVli|an, TN 38358-0679

PagelD 62

TRICT COUR

i_il.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:03-CV-02852 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

.1 ohn D. Burleson

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jackson, TN 38302--114

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/1ilan7 TN 38358

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson, TN 38302--114

Fred Collins

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/1ilan7 TN 38358

.1 ohn W. Chandler

LAW OFFICES OF .1 OHN W. CHANDLER, JR.

532 S. McLean Blvd.
1\/lemphis7 TN 38104

William LeWis Jenkins
WILKERSON GAULDIN & HAYES
112 West Court St.

Dyersburg, TN 38025--022

Honorable Bernice Donald
US DISTRICT COURT

